                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CASE NO. 3:13-00003
                                                )   JUDGE SHARP
MICHAEL GRAY                                    )
                                                )

                                           ORDER


         Pending before the Court is Defendant’s Agreed Motion to Set Plea Hearing (Docket No.

69).

         The motion is GRANTED and a hearing on a plea of guilty in this matter is hereby

scheduled for Tuesday, March 19, 2013, at 2:30 p.m.

         It is so ORDERED.



                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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